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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JUDITH DRAKE ,
§ Civil Acrion No.
Plaintiff, ‘

§ 2:17-cv-3170-JS
V. l

NATIONAL LIFE INSURANCE COMPANY

Defendant, Third-Party Plaintiff

STEVEN A. FISHMAN

Third-Party Defendant.

 

ORDER
THIS MATTER having come before the Court on Third-Party Defendant, Steven A.
Fishman’s, Motion to Dismiss and Strike the Third-Party Complaint, and the Court having
received and reviewed the moving papers and any opposition submitted thereto, and for good

cause having been shown;

IT IS, on this day of , 2018, ORDERED and

 

DECREED that Defendant/Third-Party Plaintifi’ s Third-Party Complaint is hereby

DISMISSED WITH PREJUDICE.

 

